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12
                            UNITED STATES DISTRICT COURT
13                     FOR THE SOUTHERN DISTRICT OF CALIFORNIA
14
      ADRIAN RODRIGUEZ ALCANTARA,                 Case No. 20cv0756 DMS AHG
15
      et al.,                                     RESPONDENTS’ NOTICE OF JOINDER
16
                                                  TO:
17              Plaintiffs-Petitioners,
                                                    (1) RESPONDENT LAROSES’S
18                                                      OPPOSITION TO MOTION FOR
                       v.
                                                        CLASS CERTIFICATION RE:
19                                                      OTAY MESA SUBCLASS [ECF No.
      GREGORY J. ARCHAMBEAULT, San                      27];
20
      Diego Field Office Director, ICE, et al.,
                                                       AND
21
                                                    (2) RESPONDENT LAROSE’S
22              Defendants-Respondents.                 OPPOSITION TO MOTION FOR
                                                        TEMPORARY RESTRAINING
23                                                      ORDER RE: OTAY MESA
                                                        SUBCLASS [ECF No. 26]
24

25                                                Date: April 28, 2010
                                                  Time: 1:30 p.m.
26                                                Courtroom: Telephonic
27                                                Judge: Honorable Dana M. Sabraw
28
       Joinder to TRO Oppn and Class Cert Oppn                             20cv756 DMS (AHG)
     Case 3:20-cv-00756-DMS-AHG Document 29 Filed 04/27/20 PageID.942 Page 2 of 2




 1          PLEASE TAKE NOTICE that Respondents Matthew T. Albence, Gregory J.
 2 Archambeault, James Dobson, Jesus Reyna, and Chad Wolf (“Federal Respondents”)

 3 hereby join in the following filings by Respondent Christopher J. LaRose: (1) Respondent

 4 LaRose’s Opposition to Motion for Class Certification Re: Otay Mesa Subclass [ECF No.

 5 27]; and (2) Respondent LaRose’s Opposition to Motion for Temporary Restraining Order

 6 Re: Otay Mesa Subclass [ECF No. 26], including the attached declarations and exhibits

 7 and other evidence submitted in support.

 8          Joinder is proper as to the foregoing, because the allegations are alleged against the
 9 Federal Respondents and Respondent LaRose; therefore, the arguments advanced in

10 response are equally applicable to both.

11
     DATED: April 27, 2020                           Respectfully submitted,
12

13                                                   ROBERT S. BREWER JR.
                                                     United States Attorney
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15
                                                     KATHERINE L. PARKER
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                                                     s/ Samuel W. Bettwy
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                                                     s/ Rebecca G. Church
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                                                 1
       Joinder to TRO Oppn and Class Cert Oppn                                  20cv756 DMS (AHG)
